                                                                      Case
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                                                                           2:19-cv-01667-RFB-BNW Document
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                                                                  7   Attorneys for Defendants

                                                                  8                              UNITED STATES DISTRICT COURT
                                                                  9                                     DISTRICT OF NEVADA
                                                                 10   LAS VEGAS SUN, INC., a Nevada                    Case No.:      2:19-cv-01667-RFB-BNW
KEMP, JONES & COULTHARD, LLP




                                                                      corporation,
                                                                 11
                           (702) 385-6000 • Fax (702) 385-6001




                                                                                   Plaintiff,                             STIPULATION AND ORDER TO
                              3800 Howard Hughes Parkway




                                                                 12
                                Las Vegas, Nevada 89169




                                                                                                                        ACCEPT SERVICE OF COMPLAINT
                                   kjc@kempjones.com




                                                                      v.                                               AND EXTEND DEADLINE TO RESPOND
                                    Seventeenth Floor




                                                                 13
                                                                                                                                TO COMPLAINT
                                                                 14   SHELDON ADELSON, an individual and as
                                                                      the alter ego of News+Media Capital Group                       [FIRST REQUEST]
                                                                 15   LLC and as the alter ego of Las Vegas Review
                                                                      Journal, Inc.; PATRICK DUMONT, an
                                                                 16   individual; NEWS+MEDIA CAPITAL
                                                                      GROUP LLC, a Delaware limited liability
                                                                 17   company; LAS VEGAS REVIEW-
                                                                      JOURNAL, INC., a Delaware corporation;
                                                                 18   and DOES, I-X, inclusive,

                                                                 19                Defendants.
                                                                 20

                                                                 21          Defendants Sheldon Adelson, Patrick Dumont, News+Media Capital Group LLC, and

                                                                 22   Las Vegas Review-Journal, Inc. (collectively, “Defendants”), by and through their attorneys of

                                                                 23   record, Kemp, Jones & Coulthard, LLP, and Plaintiff Las Vegas Sun, Inc. (“Plaintiff”), by and

                                                                 24   through its attorneys of record, Lewis Roca Rothgerber Christie LLP, Pisanelli Bice PLLC, and

                                                                 25   Alioto Law Firm, hereby stipulate and agree to the following:

                                                                 26          1.     On September 24, 2019, Plaintiff filed its Complaint against Defendants. ECF

                                                                 27   No. 1. On or about September 25, 2019, Plaintiff served the Summons and Complaint on the

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                                                                  1   entity Defendants, News+Media Capital Group LLC and Las Vegas Review-Journal, Inc.,

                                                                  2   which makes their response to the Complaint due by October 16, 2019.

                                                                  3          2.      The law firm of Kemp, Jones & Coulthard, LLP is authorized to and has agreed

                                                                  4   to accept service of the Summons and Complaint on behalf of the individual Defendants,

                                                                  5   Sheldon Adelson and Patrick Dumont.

                                                                  6          3.      Plaintiff and Defendants agree that Defendants shall have up to and including

                                                                  7   October 30, 2019, to respond to Plaintiff’s Complaint. This is the first request for an extension

                                                                  8   of time to respond to the Complaint.

                                                                  9          4.      This extension is requested to provide Defendants with sufficient time to review

                                                                 10   and respond Plaintiff’s allegations.
KEMP, JONES & COULTHARD, LLP




                                                                 11   Dated this 4th day of October, 2019.               Dated this 4th day of October, 2019.
                           (702) 385-6000 • Fax (702) 385-6001
                              3800 Howard Hughes Parkway




                                                                 12   LEWIS ROCA ROTHGERBER CHRISTIE LLP KEMP, JONES & COULTHARD, LLP
                                Las Vegas, Nevada 89169
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                                                                 13
                                                                       /s/ Kristen Martini                                /s/ Michael Gayan
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                                                                 21   Jamie L. Miller, Esq. (pro hac vice pending)
                                                                      ALIOTO LAW FIRM
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                                                                      San Francisco, California 94104
                                                                 23
                                                                      Attorneys for Plaintiff
                                                                 24
                                                                                                                   IT IS SO ORDERED:
                                                                 25
                                                                 26
                                                                                                                   ____________________________________
                                                                 27                                                UNITED STATES DISTRICT JUDGE
                                                                 28                                                        10/8/19
                                                                                                                   DATED: _______________________________
                                                                                                                   2
